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                   UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA

 YOUNG ISRAEL OF TAMPA, INC.,

         Plaintiff,

    v.                                       Civil No. _________

 HILLSBOROUGH AREA
 REGIONAL TRANSIT                                COMPLAINT
 AUTHORITY,

 ADELEE LE GRAND, in her official            PERMANENT INJUNCTIVE
 capacity as Chief Executive Officer         RELIEF REQUESTED
 of the Hillsborough Area Regional
 Transit Authority, and                      DECLARATORY RELIEF
                                             REQUESTED
 RUTHIE REYES BURCKARD, in
 her official capacity as Deputy Chief       DEMAND FOR A JURY TRIAL
 of Transportation for the Hills-
 borough Area Regional Transit Au-
 thority,

         Defendants.



                            NATURE OF THE CASE

   1.    Defendants Hillsborough Area Regional Transit Authority (“HART”)

and its officials have discriminated against Plaintiff Young Israel of Tampa,

Inc. (“Young Israel”), an Orthodox Jewish synagogue, by prohibiting Young Is-

rael from exercising its constitutionally protected rights of free speech and free

exercise of religion.




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   2.   As a member of the Tampa community, Young Israel wishes to access

a widely available advertising platform—HART’s transit system—to convey

messages in connection with its annual religious events. Specifically, Young

Israel seeks to advertise its annual Passover Seder, “Chanukah on Ice” event,

and potentially other events through HART.

   3.   However, HART will not allow Young Israel to purchase advertising

space to convey its religious viewpoint or advertise its religious events. Instead,

HART places religious messages in a prohibited category along with ads con-

taining or promoting alcohol, tobacco, illicit drugs, obscenity, nudity, profanity,

politics, pornography, discrimination, violence, or libel. This raises multiple

constitutional problems.

   4.   First, it discriminates against Young Israel’s speech based on its reli-

gious content and viewpoint. HART has for many decades allowed a wide array

of speech on its transit system. Young Israel is simply seeking to do what

countless other advertisers do: advertise events on HART’s transit system. Yet

HART will not let Young Israel advertise these events because they include

religious content and come from a religious perspective. This is textbook con-

tent and viewpoint discrimination, violating the First Amendment’s Free

Speech Clause.

   5.   Second, the standard HART uses to evaluate advertisements is no

standard at all. HART has no concrete criteria, either in written policy or in


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practice, for what makes an ad “religious” and thus prohibited. Such standard-

less speech regulations violate the First Amendment even in a supposedly non-

public forum. And HART’s transit system should be categorized as a public

form, as its system is open to a wide range of speech in the classic public fora

of streets and sidewalks.

   6.   Third, HART is discriminating based on religion, violating the First

Amendment’s Free Exercise Clause. Both the plain language of HART’s policy,

and its application to Young Israel, establish a simple rule: religious messages

need not apply. Such facially plain discrimination against religion violates the

Free Exercise Clause.

   7.   Finally, the process endured by Young Israel in contending with

HART’s policy violates the Fourteenth Amendment’s guarantees of equal pro-

tection and due process.

   8.   Absent judicial intervention, HART will continue discriminating

against religious speech, to the detriment of Young Israel and the Tampa com-

munity. Thus, the Court should enjoin HART from enforcing its ban on reli-

gious speech, order it to comply with the Constitution, and afford Young Israel

all other relief to which it is entitled—including declaratory relief and dam-

ages.




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                      IDENTIFICATION OF PARTIES

   9.   Plaintiff Young Israel is a 501(c)(3) religious nonprofit organization lo-

cated in Tampa, Florida.

   10. Defendant HART “was created by its member governments” in accord-

ance with Fla. Stat. § 163.565 et seq. See Hillsborough Transit Authority Policy

Manual § 110.02 (Exhibit A). It is headquartered in Tampa, Florida, and exists

“to service the public transit needs of its member jurisdictions and of such ar-

eas with which HART may contract for service.” Id. HART’s member jurisdic-

tions are the County of Hillsborough, Florida, the City of Tampa, Florida, and

the City of Temple Terrace, Florida. Id. at § 120.01. While the Governor of

Florida appoints two members to HART’s board, its member jurisdictions—

local governments—retain majority control. See id. at § 120.02(1); see also id.

at § 120.04 (Hillsborough County appoints seven, the City of Tampa appoints

three, and the City of Temple Terrace appoints one).

   11. Under its governing advertising policy, HART has selected an “Adver-

tising Contractor” that is “responsible for the administration of the HART ad-

vertising program consistent with HART’s adopted policies and guidelines and

its agreement with HART.” Id. at § 810.10(2). This includes “initially ad-

dress[ing] the application of HART guidelines” to “all advertising requests.”

The Advertising Contractor “refer[s]” “[a]ny question or disagreement” about

the policy to a HART employee. Id. Here, HART administered its advertising


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policy through Vector Media. The Vector Media employee initially denied

Young Israel’s ad per HART’s policy, and then referred Young Israel’s re-

quested appeal to HART employees. HART’s interim CEO ultimately denied

the ad.

      12. HART’s “primary mission” with its advertising policy is to “establish[]

a favorable environment” and “ensure that the advertisement is not offensive

to HART customers and the community.” Id. at § 810.10(1). Revenues from the

policy are used “to supplement un-funded operating costs, while maximizing

transit services revenue by attracting, maintaining, and increasing ridership.”

Id.

      13. Defendant Adelee Le Grand is HART’s Chief Executive Officer. The

CEO is HART’s chief staff officer and is responsible for implementing HART’s

policies. Id. at § 140.02(1). Under the governing advertising policy, the CEO or

her designee has “final resolution” authority over disputes regarding applica-

tion of the HART advertising policy. Id. at § 810.10(2). Le Grand is sued in her

official capacity and her actions are actions under color of law.

      14. Defendant Ruthie Reyes Burckard was HART’s interim CEO at the

time HART applied its unconstitutional policy to Young Israel as alleged be-

low. Burckard is currently HART’s Deputy Chief of Transportation. Burckard

is sued in her official capacity and her actions are actions under color of state

law.


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                       JURISDICTION AND VENUE

   15. This case arises under the Constitution of the United States. The Court

has jurisdiction pursuant to 28 U.S.C. § 1331, as the case presents substantial

federal questions concerning a deprivation of constitutional rights, see 42

U.S.C. § 1983, and under 28 U.S.C. § 1343, as Young Israel challenges a dep-

rivation of constitutional rights committed under color of state law.

   16. Venue is proper here, as this is the district in which substantial events

giving rise to the complaint occurred and in which Defendants reside. See 28

U.S.C. § 1391(b).

                        FACTUAL ALLEGATIONS

   A. Young Israel

   17. Young Israel is an Orthodox Jewish synagogue serving the Jewish com-

munity of Tampa Bay.

   18. Young Israel’s mission is to provide its community a “place to experi-

ence the warmth and joy of Torah Judaism,” fostering “spiritual growth” and

helping to ensure “the future of the Jewish people.”

   19. To that end, Young Israel offers daily religious services, provides reg-

ular classes on subjects ranging from Torah to cooking to the Hebrew language,

and is a hub of daily life for the Jewish community.




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   20. Young Israel also serves the Jewish community at the University of

South Florida and actively participates in the broader Tampa community

through outreach and charitable endeavors.

   21. One way in which Young Israel celebrates its faith and serves the com-

munity is by hosting an annual Chanukah celebration.

   22. Chanukah is an eight-night religious festival, typically observed in De-

cember, that commemorates the rededication of the Temple in Jerusalem in

the 2nd century B.C.E. Jews celebrate Chanukah as a time of hope and renewal

for the Jewish people.

   23. One of the central and most widely recognized features of the Jewish

celebration of Chanukah is the lighting of a nine-branched candelabrum called

a menorah or chanukiah.

   24. For at least the last fourteen years, as part of its observance of the fes-

tival, Young Israel has held a public celebration called “Chanukah on Ice,”

which provides Young Israel an opportunity to share the joy of the season with

any in the Tampa community. The family-friendly event features ice-skating,

food, music, a raffle, and the lighting of an ice-sculpted menorah. Young Israel

charges a small admission fee to attend.

   25. Although Chanukah on Ice had to be canceled in December 2020 due to

COVID-19, Young Israel intends to hold the event in 2021 and future years.




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   26. Young Israel also celebrates its faith and serves the community by host-

ing Passover Seders. These are ritual meals celebrated during Passover to com-

memorate the liberation of the Israelites from oppression in Egypt. Anyone is

welcome to attend Young Israel’s Seder provided they purchase a ticket for a

small fee.

   27. Young Israel has hosted public Passover Seders annually for at least

33 years. Although the 2020 celebration could not be open to the public due to

COVID-19, the Seder offers a unique opportunity to share Jewish faith and

culture. Thus, public-health circumstances permitting, Young Israel intends to

publicize its next Passover Seder scheduled for March 2021.

   28. Chanukah on Ice and Passover Seders are just two of several events

that Young Israel hosts throughout the year. Others include cooking clubs,

barbecues, and observance of the High Holy Days.

   29. Events such as the Seders and Chanukah on Ice allow Young Israel to

promote its religious mission and engage the Tampa community. This year,

Young Israel intends to raise money for a mikvah—a ritual bath used in Juda-

ism.

   30. These events—and the advertising Young Israel does to promote

them—also help to spread the word about Young Israel to Jews and anyone

interested in Judaism in the Tampa area who otherwise might be unaware of

Young Israel’s existence. Hillsborough County has long had a large Jewish


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population, and the Orthodox Jewish community in and around Tampa is

growing. Young Israel seeks to “welcom[e] all Jews, from the most observant

to those just returning to their heritage.” Community events and advertising

provide a vital means for fulfilling this mission.

   B. HART and its Advertising Policy

   31. HART is the government agency charged with operating mass transit

and supplying transportation assistance in Hillsborough County and the City

of Tampa. HART’s services include a fleet of nearly 200 buses and a historic

streetcar line, which together serve an area of approximately 1,000 square

miles.

   32. HART has an annual budget of approximately $112 million. It finances

its activities in part through selling advertisements on buses, the streetcar

line, and bus shelters. HART’s advertising placements bring in around $1 mil-

lion annually.

   33. HART’s advertising sales are governed by an “Advertising Policy” ap-

pearing in its Policy Manual. See Exhibit A. An “objective” in selling advertise-

ments is “to maximize advertising revenues.” Id. § 810.10(1).

   34. The policy provides that the “advertising accepted is intended to be

strictly commercial in nature … with limited Governmental Entity Public Ser-

vice Announcements.” Id. HART will “endeavor[]” to ensure that advertise-

ments placed with it are not “offensive.” Id.


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   35. The policy states that advertisements must not graphically describe or

represent “sexual conduct” and must not “demean[] or disparage[] an individ-

ual or group.” Id. § 810.10(3)(a)-(b).

   36. The policy also includes a list of specific “[p]rohibitions,” which are cat-

egorical restrictions on the “types of advertising” that may be placed on HART

vehicles or property. Id. § 810.10(4).

   37. The list of “[p]rohibitions” includes advertisements for alcohol and to-

bacco products, advertisements containing profanity or “discriminatory mate-

rials and/or messages,” advertisements for firearms or showing violence, vari-

ous political advertisements, false or deceptive advertising, and advertise-

ments that could subject HART to litigation (e.g., ads that are libelous or in-

fringe on copyrights). See id. § 810.10(4).

   38. Also included on the list of prohibitions are any “[a]dvertisement[s]

that primarily promote a religious faith or religious organization.” Id. §

810.10(4)(e).

   39. The policy thus by its terms associates religious speech with pornogra-

phy, discrimination, violence, falsehoods, libel, and illegal activity. It also bans

advertisements based on their religious content and viewpoint (“promot[ing] a

religious faith”) and based on the advertiser’s religious status (“religious or-

ganization[s]”).




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   C. HART’s Inconsistent and Arbitrary Enforcement

   40. Although HART’s ban on religious advertising has been in place since

at least 2008, it has been applied inconsistently and arbitrarily.

   41. From 2012 to 2013, HART permitted advertisements for St. Leo Uni-

versity, a Catholic university “[r]ooted in the 1,500-year-old Benedictine tradi-

tion” and whose mission is to “seek[] balanced growth in mind, body, and spirit

for all members of its community.”

   42. Likewise, in 2013, the Center for American-Islamic Relations (CAIR)

sought to run advertisements for its #MyJihad campaign—a public-education

effort to explain the true understanding of the term “jihad.” HART initially

denied CAIR’s request, but ultimately permitted the advertisements to run.

   43. HART has also run advertisements for Alcoholics Anonymous, whose

twelve-step recovery program integrates spirituality and asking God for for-

giveness and help in the path to recovery.

   44. HART revised its advertising policy in 2013 following controversy over

the CAIR advertisements. In the revision, HART maintained the same list of

“prohibitions” as before but added (inter alia) the current language stating that

“advertising accepted is intended to be strictly commercial in nature … with

limited” public service announcements. Exhibit A § 810.10(1).




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   45. According to HART’s then-General Counsel, the purpose of this change

was “to try to craft a policy that minimizes the need to file lawsuits and mini-

mizes the opportunity for lawsuits to be successful.”

   46. HART board members recognized at the time, however, that the re-

vised policy still left room for arbitrary enforcement. As HART’s then-General

Counsel conceded, certain terms in the revised policy would still be “controver-

sial” and “some debate” would remain “with respect to how strongly the policy

is limited to commercial speech.”

   47. Another HART board member likewise pointed out that HART’s effort

to police whether an advertisement is “offensive” is inherently problematic be-

cause “what is offensive to one rider may not be offensive to another rider.”

   48. Despite the 2013 revisions, HART has not in practice limited advertis-

ing to “commercial” advertisements and “Governmental Entity Public Service

Announcements.”

   49. For example, HART has continued to run advertisements for private

nonprofit groups, such as the United Way and the Vinik Family Foundation.

At least some of these advertisements have been run at discounted rates. It

also continues to allow non-profit ads promoting resources to combat human

trafficking.

   50. HART has also decorated its buses in Christmas-holiday themes for

“Stuff-a-Bus” charitable projects. As a HART board member acknowledged in


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2013, such advertisements would likely be prohibited by application of the

2013 policy according to its plain terms.

   51. HART also allows even ostensibly “commercial” ads to run with overtly

political messages. For example, HART allowed “Rhino Lawyers” to run an ad

with a poster containing the political slogan “No Human Being Is Illegal.”

   D. HART’s Rejection of Young Israel’s Chanukah on Ice
      Advertisement

   52. Prior to the spike in COVID-19 cases in late 2020, Young Israel in-

tended to hold its Chanukah on Ice celebration at AdventHealth Center Ice

rink on December 17, 2020, as it did in 2019. Young Israel sought to promote

and generate interest in the event through advertising.

   53. For the past several years, Young Israel has published an ad promoting

Chanukah on Ice as part of its attempt to welcome in anyone interested in the

Young Israel community or in the Jewish faith generally during the holiday

season. Prior to 2020, Young Israel ran its Chanukah on Ice advertisements

online and in specifically Jewish media.

   54. For 2020, however, Young Israel sought to expand its advertising by

placing Chanukah on Ice advertisements with HART. As Young Israel recog-

nized, transit advertising provides high visibility with consistent daily views

by drivers, passengers, and pedestrians. Moreover, the event’s planned




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venue—the AdventHealth Center Ice rink—is located on one HART bus line

(275LX) and near another (the Local Route 400 Metro Rapid).

   55. In accordance with its Advertising Policy, HART has designated an

“Advertising Contractor”—Vector Media—to administer its advertising pro-

gram and accept submissions. Exhibit A § 810.10(2).

   56. On October 30, 2020, Young Israel of Tampa’s Vice President, Rabbi

Uriel Rivkin, submitted Young Israel’s Chanukah on Ice advertisement to the

relevant Vector representative for purposes of running the advertisement with

HART. Exhibit B.

   57. The ad states: “Young Israel of Tampa presents 14th Annual Chanukah

on Ice.” It includes a prominent menorah, describes features of the celebration,

and notes the $5 admission fee. The ad is reproduced below:




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   59. On November 2, 2020, HART’s contractor (Vector Media) refused to

place Young Israel’s advertisement, explaining: “HART does not allow reli-

gious affiliation advertising, as well as banning adult, alcohol, tobacco, and

political ads.” Exhibit C.

   60. Expressing his “disappoint[ment]” with this decision, Rabbi Rivkin

sought to address the issue with another representative. In response, the rep-

resentative attached a copy of HART’s Advertising Policy and directed Rabbi

Rivkin to the religious advertising ban now appearing in § 810.10(4)(e) (the

attached copy was the 2008 version). Exhibit D.

   61. Under HART’s Advertising Policy, those aggrieved by the application

of the policy in the first instance may “appeal” to HART’s CEO “for final reso-

lution.” Rabbi Rivkin first made that request on November 13. Exhibit E. On

November 25, having not received a decision and with Chanukah on the hori-

zon, Rabbi Rivkin sent a letter to Defendant Burckard, then HART’s interim

CEO, seeking review of the denial of Young Israel’s advertisement. Exhibit F.

   62. Two weeks later, on December 7, 2020, a representative of HART called

Rabbi Rivkin to let him know that HART was discussing Young Israel’s ad.

   63. The following day, December 8, 2020, HART sent Young Israel a

markup of its ad with two “suggested edits.” First, HART stated that Young

Israel should remove the advertisement’s central illustration—a menorah. Sec-

ond, HART proposed deleting all references to the menorah from the


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advertisement’s text, as follows: “Featuring lighting of a sculpted Grand Ice

Menorah and ice skating to Jewish music around the flaming menorah, Arts &

Crafts, Kosher Food Stand, Latkes & a Special Raffle!” Exhibit G.

   64. On December 14, Rabbi Rivkin replied to HART, thanking them for

their response, but noting: “the lighting of the menorah is a central aspect of

the Orthodox Jewish celebration of Chanukah. Thus, your changes are both

offensive and not possible to make. Please let me know if HART will accept the

ad as originally designed.” Exhibit H.

   65. On December 15, 2020, Burckard responded by issuing a written rejec-

tion of the ad as originally designed. Exhibit I.

   66. HART’s rejection of the ad, and its written policy of excluding religious

speech, violates the First and Fourteenth Amendments.

   67. Absent HART’s unconstitutional policy, Young Israel desires and has

concrete plans to advertise on HART’s transit system in the future. Specifi-

cally, Young Israel would like to advertise its Passover Seder scheduled for

March of 2021 (and future years) and its next Chanukah on Ice scheduled for

December of 2021 (and future years). Young Israel also wants to have HART

advertising as an option for promoting other future events.

   68. Young Israel will suffer irreparable harm to its constitutional rights if

it is excluded from HART advertising spaces simply because of its religious

status, religious viewpoint, and the religious content of its advertisements.


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HART’s policy chills Young Israel’s speech by deterring and preventing it from

advertising with HART. HART’s policy has also caused Young Israel irrepara-

ble constitutional injury by preventing Young Israel from reaching other mem-

bers of the Tampa community with its religious message.

   69. Attempting to comply with HART’s unconstitutional policy also di-

verted Rabbi Rivkin’s time, resources, and attention from Chanukah prepara-

tions and other religious duties. And the unconstitutional policy could suppress

attendance at Young Israel’s future events, such as its Passover Seder in

March of 2021 and Chanukah on Ice in December 2021.

                        CLAIMS FOR RELIEF
                                Count I
                            42 U.S.C. § 1983
                 First Amendment Freedom of Speech:
             Facial Content and Viewpoint Discrimination

   70. Young Israel incorporates by reference all preceding paragraphs.

   71. The prohibition against “[a]dvertisements that primarily promote a re-

ligious faith or religious organization” in HART’s advertising policy is facially

unconstitutional as it deprives religious advertisers or advertisers who wish to

convey a religious message of their right to engage in protected speech in vio-

lation of the Free Speech Clause of the First Amendment, as incorporated by

the Fourteenth Amendment.

   72. On its face, the prohibition on “[a]dvertisements that primarily pro-

mote a religious faith or religious organization” in HART’s advertising policy

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is content-based and viewpoint-based discrimination in violation of the Free

Speech Clause of the First Amendment.

   73. That prohibition cannot satisfy strict (or any other level of) scrutiny.

   74. HART cannot avoid First Amendment scrutiny by simply claiming that

its advertising space is not a public forum.

   75. As an initial matter, a space that traverses the classic public fora of

streets and sidewalks—like the side of a bus, a bus shelter, or a billboard—is

part of a public forum.

   76. Alternatively, HART has made space available for speech—thus it has

created at the very least a limited public forum.

   77. But regardless of the forum designation—indeed, even if HART’s ad-

vertising space is a nonpublic forum—viewpoint discrimination is never per-

missible. Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829

(1995).

   78. Forbidding religious viewpoints as a matter of policy is viewpoint dis-

crimination. See Good News Club v. Milford Cent. Sch., 533 U.S. 98, 110-11

(2001) (holding that “quintessentially religious” views cannot be excluded by

claiming to forbid religion as a subject matter); Rosenberger, 515 U.S. at 831

(“Religion may be a vast area of inquiry, but it also provides, as it did here, a

specific premise, a perspective, a standpoint from which a variety of subjects




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may be discussed and considered.”); accord Ne. Pa. Freethought Soc’y v. Cty. of

Lackawanna Transit Sys., 938 F.3d 424, 437 (3d Cir. 2019).

   79. HART’s policy, as written, allows secular messages regarding holidays

and organizational promotion—both commercial and charitable (such as with

its Stuff-a-Bus campaign). But the policy itself specifically excludes messages

on holidays or organizational promotion if they contain religious viewpoints or

promote religious organizations.

   80. HART’s policy, as written, also discriminates against religious content.

   81. HART has therefore violated the First Amendment by impermissibly

engaging in content-based and viewpoint discrimination.

   82. Nor is avoiding offense to riders an acceptable justification for religious

viewpoint discrimination. See Ne. Pa. Freethought Soc’y, 938 F.3d at 439; ac-

cord Matal v. Tam, 137 S. Ct. 1744, 1763 (2017) (giving offense is a viewpoint).

   83. As a result of Defendants’ violation of the Free Speech Clause of the

First Amendment, Young Israel has suffered and will suffer irreparable harm,

including the loss of its constitutional rights, and is entitled to injunctive, de-

claratory, and monetary relief.

                                    Count II
                           42 U.S.C. § 1983
                First Amendment Freedom of Speech:
           As-Applied Content and Viewpoint Discrimination

   84. Young Israel incorporates by reference all preceding paragraphs.


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   85. The prohibition on “[a]dvertisements that primarily promote a reli-

gious faith or religious organization” in HART’s advertising policy, as applied

to Young Israel’s request to run its Chanukah on Ice advertisement, discrimi-

nates against Young Israel’s messages in violation of the Free Speech Clause

of the First Amendment, as incorporated by the Fourteenth Amendment.

   86. For the reasons explained in Count I, HART’s denial of Young Israel’s

proposed advertisement on the grounds that it did not conform with HART’s

advertisement policy is unconstitutional.

   87. The policy also creates an unreasonable and disproportionate burden

on the exercise of Young Israel’s speech without any legitimate justification.

   88. Forbidding Young Israel’s overtly religious advertisement is not a rea-

sonable restriction in light of the purpose of the forum and the surrounding

circumstances.

   89. HART claims that its aim in allowing advertising is to raise revenue.

Yet Young Israel is ready and willing to purchase the advertisement space.

And Young Israel’s ad, like those HART agrees to run, proposed a commercial

transaction.

   90. HART also can demonstrate no interest—much less the compelling in-

terest required by strict scrutiny—in preventing Young Israel from running

overtly religious advertisements.




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   91. HART’s purported efforts to prevent offense to riders and viewers in

public places does not constitute a sufficiently compelling interest. And its bur-

dening all religious speech is not narrowly tailored to achieve a permissible

interest.

   92. As a result of Defendants’ violation of the Free Speech Clause of the

First Amendment, Young Israel has suffered and will suffer irreparable harm,

including the loss of its constitutional rights, and is entitled to injunctive, de-

claratory, and monetary relief.

                                 Count III
                              42 U.S.C. § 1983
                  First Amendment Freedom of Speech:
                  Facially Arbitrary Speech Restrictions

   93. Young Israel incorporates by reference all preceding paragraphs.

   94. The prohibition on “[a]dvertisements that primarily promote a reli-

gious faith or religious organization” in HART’s advertising policy facially vio-

lates the First Amendment by granting public officials unbridled discretion

such that an official’s decision to limit speech is not constrained by objective

criteria, but may rest on ambiguous and subjective grounds. Unconstitution-

ally vague policies “trap the innocent by not providing fair warning,” “foster

arbitrary and discriminatory application,” and “inhibit protected expression by

inducing citizens to steer far wider of the unlawful zone than if the boundaries

of the forbidden areas were clearly marked.” Buckley v. Valeo, 424 U.S. 1, 41



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n.48 (1976) (per curiam) (cleaned up). Because HART’s policy embodies these

flaws, it is unconstitutionally vague and violates the First Amendment, as in-

corporated by the Fourteenth Amendment.

   95. Prior to the advertisement policy’s promulgation, several board mem-

bers raised questions about how broadly or narrowly the policy would be en-

forced. At the HART Board of Directors meeting on September 23, 2013, Coun-

cilmember Mike Suarez feared that advertisements about Dr. Martin Luther

King, Jr. could run afoul of the policy because Dr. King was a minister and a

member of the Southern Christian Leadership Conference. While Councilmem-

ber Suarez’s comments referred to the 2012 policy, the language prohibiting

“[a]dvertisements that primarily promote a religious faith or religious organi-

zation” did not change.

   96. The policy provides no objective guide for distinguishing between per-

missible and impermissible advertisements in a non-arbitrary, viewpoint-neu-

tral manner.

   97. Defendants’ policy does not explain what makes an ad qualify as pro-

moting or opposing religion.

   98. Simply claiming that its advertising space is not a public forum does

not give HART unbridled discretion accept or reject ads based on the view-

points expressed.




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   99. Under the First Amendment, even nonpublic forums require a “sensible

basis for distinguishing what may come in from what must stay out.” Minn.

Voters All. v. Mansky, 138 S. Ct. 1876, 1888 (2018); see also Am. Freedom Def.

Initiative v. Suburban Mobility Auth. for Reg’l Transp., 978 F.3d 481, 494-95

(6th Cir. 2020) (no official guidance on workable standard violates First

Amendment).

   100. As a result of Defendants’ violation of the Free Speech Clause of the

First Amendment, Young Israel has suffered and will suffer irreparable harm,

including the loss of its constitutional rights, and is entitled to injunctive, de-

claratory, and monetary relief.

                                    Count IV
                            42 U.S.C. § 1983
                 First Amendment Freedom of Speech:
                As-Applied Arbitrary Speech Restrictions

   101. Young Israel incorporates by reference all preceding paragraphs.

   102. Through the prohibition against “[a]dvertisements that primarily pro-

mote a religious faith or religious organization” in HART’s advertising policy,

Defendants have arbitrarily denied Young Israel the ability to engage in pro-

tected speech. This unconstitutionally vague application of HART’s advertising

policy violates the Free Speech Clause of the First Amendment, as incorpo-

rated by the Fourteenth Amendment.




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   103. After trying to make Young Israel remove religious aspects of its mes-

sage as a condition for running the Chanukah on Ice ad, HART arbitrarily de-

nied Young Israel the opportunity to run its ad on the basis that it was a reli-

gious advertisement precluded by HART’s advertising policy.

   104. Yet HART has allowed other advertisements by religious organizations

or ads with religious or spiritual content to run in the past, notwithstanding

its prohibition on “[a]dvertisements that primarily promote a religious faith or

religious organization.”

   105. HART’s advertisement policy has prohibited “[a]dvertisements that

primarily promote a religious faith or religious organization” since at least Sep-

tember 2008.

   106. In spite of this, HART accepted advertisements by Saint Leo Univer-

sity, a religious organization.

   107. Similarly, HART has accepted advertisements for Alcoholics Anony-

mous, a group that uses religious belief and spirituality to help its members

combat addiction.

   108. HART also allowed an advertisement by CAIR, which is an organiza-

tion dedicated to fostering sympathy toward members of a religion (Islam) and

ran an advertisement about the meaning of a religious term (jihad).

   109. The discriminatory and arbitrary enforcement of HART’s policy vio-

lates Young Israel’s First Amendment rights. In years past, HART allowed


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CAIR’s “#MyJihad” ad to run, but another group’s counter-ad was denied. St.

Leo’s and Alcoholics Anonymous ads, promoting religious organizations and

religious missions can run, but Young Israel’s Chanukah on Ice ad cannot.

   110. It is therefore impossible for Young Israel, or anyone else looking to

convey a religious message, to know whether and how HART will apply its

policy.

   111. As a result of Defendants’ violation of the Free Speech Clause of the

First Amendment, Young Israel has suffered and will suffer irreparable harm,

including the loss of its constitutional rights, and is entitled to injunctive, de-

claratory, and monetary relief.

                                    Count V
                             42 U.S.C. § 1983
               First Amendment Free Exercise of Religion:
                     Discrimination Against Religion

   112. Young Israel incorporates by reference all preceding paragraphs.

   113. Through the prohibition against “[a]dvertisements that primarily pro-

mote a religious faith or religious organization” in HART’s advertising policy,

Defendants have targeted religious beliefs and religious status for disfavored

treatment. This is “never permissible.” Church of the Lukumi Babalu Aye, Inc.

v. City of Hialeah, 508 U.S. 520, 533 (1993); see also Emp. Div. v. Smith, 494

U.S. 872, 877 (1990) (Free Exercise Clause “obviously” prohibits “special disa-

bilities on the basis of religious views or religious status” (citing McDaniel v.


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Paty, 435 U.S. 618 (1978)). The policy therefore violates the Free Exercise

Clause of the First Amendment, as incorporated by the Fourteenth Amend-

ment.

   114. The policy is neither neutral toward religion nor generally applicable.

The policy explicitly targets religion; it disfavors religious speech and religious

organizations compared with non-religious speech and non-religious organiza-

tions; it exempts non-religious speech and non-religious organizations while

refusing to exempt religious speech and religious organizations; and it has

been selectively enforced.

   115. Because Defendants’ policy explicitly targets religion, it is invalid. The

Court need not even determine whether Defendants can defend the policy by

proving a compelling governmental interest that is narrowly tailored to meet

that interest. See, e.g., Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights

Comm’n, 138 S. Ct. 1719, 1732 (2018) (concluding that “official expressions of

hostility” to religion are “inconsistent with what the Free Exercise Clause re-

quires,” without needing to apply strict scrutiny); id. at 1734 (Gorsuch & Alito,

JJ., concurring) (“judgmental dismissal of a sincerely held religious belief . . .

cannot begin to satisfy strict scrutiny”).

   116. At minimum, the policy is “subject to ‘the strictest scrutiny,’” which it

cannot satisfy. Espinoza v. Mont. Dep’t of Revenue, 140 S. Ct. 2246, 2257 (2020)




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(quoting Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012,

2022 (2017)).

   117. The prohibition on “[a]dvertisements that primarily promote a reli-

gious faith or religious organization” furthers no compelling governmental in-

terest. Keeping HART’s riders from experiencing offense over advertisements

with overtly religious topics or by religious speakers is not a compelling gov-

ernmental interest. See, e.g., Hurley v. Irish Am. Gay, Lesbian & Bisexual Grp.,

515 U.S. 557, 579 (1995) (“While the law is free to promote all sorts of conduct

in place of harmful behavior, it is not free to interfere with speech for no better

reason than promoting an approved message or discouraging a favored one,

however enlightened either purpose may strike the government.”).

   118. Nor is the prohibition on “[a]dvertisements that primarily promote a

religious faith or religious organization” narrowly tailored to advance any com-

pelling governmental interest.

   119. As a result of Defendants’ violation of the Free Exercise Clause of the

First Amendment, Young Israel has suffered and will suffer irreparable harm,

including the loss of its constitutional rights, and is entitled to injunctive, de-

claratory, and monetary relief.




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                                 Count VI
                              42 U.S.C. § 1983
                          Fourteenth Amendment:
                             Equal Protection

   120. Young Israel incorporates by reference all preceding paragraphs.

   121. Through the prohibition against “[a]dvertisements that primarily pro-

mote a religious faith or religious organization” in HART’s advertising policy,

Defendants have violated Young Israel’s rights under the Equal Protection

Clause of the Fourteenth Amendment.

   122. The Equal Protection Clause prohibits HART from denying Young Is-

rael equal protection of the laws.

   123. The prohibition on “[a]dvertisements that primarily promote a reli-

gious faith or religious organization” in HART’s advertising policy as applied

to Young Israel’s request to place advertisements for the Chanukah on Ice cam-

paign, denies Young Israel equal protection.

   124. The prohibition on “[a]dvertisements that primarily promote a reli-

gious faith or religious organization” in HART’s advertising policy has no ra-

tional basis.

   125. The prohibition on “[a]dvertisements that primarily promote a reli-

gious faith or religious organization” in HART’s advertising policy is not nar-

rowly tailored to advance any compelling governmental interest.




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   126. As a result of Defendants violation of the Equal Protection Clause,

Young Israel has suffered and will suffer irreparable harm, including the loss

of its constitutional rights, and is entitled to injunctive, declaratory, and mon-

etary relief.

                                 Count VII
                              42 U.S.C. § 1983
                          Fourteenth Amendment:
                               Due Process

   127. Young Israel incorporates by reference all preceding paragraphs.

   128. Through the prohibition against “[a]dvertisements that primarily pro-

mote a religious faith or religious organization” in HART’s advertising policy,

Defendants have violated Young Israel’s rights under the Due Process Clause

of the Fourteenth Amendment.

   129. The Due Process Clause guarantees Young Israel a constitutionally

valid process when it submits advertisements for consideration to HART. By

subjecting advertisements to additional scrutiny simply to determine whether

they “primarily promote a religious faith or religious organization,” that guar-

antee has been denied.

   130. As a result of Defendants’ violation of the Due Process Clause of the

Fourteenth Amendment, Young Israel has suffered and will suffer irreparable

harm, including the loss of its constitutional rights, and is entitled to injunc-

tive, declaratory, and monetary relief.



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                               JURY DEMAND

   Young Israel requests a jury trial on all issues so triable.

                           PRAYER FOR RELIEF

   Wherefore, Young Israel requests that the Court:

   a. Enter a declaration that the prohibition against “[a]dvertisements that

primarily promote a religious faith or religious organization” in HART’s adver-

tising policy violates the rights of Young Israel under the Free Speech Clause

of the First Amendment;

   b. Enter a declaration that HART’s rejection of Young Israel’s Chanukah on

Ice advertisement violates the Free Speech Clause of the First Amendment;

   c. Enter a declaration that the prohibition against “[a]dvertisements that

primarily promote a religious faith or religious organization” in HART’s adver-

tising policy violates the rights of Young Israel under the Free Exercise Clause

of the First Amendment;

   d. Enter a declaration that the prohibition against “[a]dvertisements that

primarily promote a religious faith or religious organization” in HART’s adver-

tising policy violates the rights of Young Israel under the Equal Protection

Clause of the Fourteenth Amendment;

   e. Enter a declaration that the prohibition against “[a]dvertisements that

primarily promote a religious faith or religious organization” in HART’s




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advertising policy violates the rights of Young Israel under the Due Process

Clause of the Fourteenth Amendment;

   f. Enter an injunction permanently preventing Defendants from enforcing

the prohibition against “[a]dvertisements that primarily promote a religious

faith or religious organization,” and require full compliance with the U.S. Con-

stitution;

   g. Award nominal damages to Young Israel;

   h. Award actual damages to Young Israel;

   i. Award attorneys’ fees and costs to Young Israel under 42 U.S.C. § 1988;

and

   j. Award such other relief as the Court may deem just and proper.




 Dated: February 5, 2021                Respectfully submitted,


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